

People v Williams (2021 NY Slip Op 01729)





People v Williams


2021 NY Slip Op 01729


Decided on March 23, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 23, 2021

Before: Webber, J.P., Oing, Kennedy, Scarpulla, JJ. 


Ind No. 1172/15 Appeal No. 13402 Case No. 2017-2298 

[*1]The People of the State of New York, Respondent,
vOtha Williams, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Denise Fabiano of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Claire E. Nielsen of counsel), for respondent.



Judgment, Supreme Court, New York County (James M. Burke, J.), rendered August 17, 2016, convicting defendant, upon his plea of guilty, of criminal possession of a weapon in the second degree, and sentencing him to a term of 3½ years, unanimously affirmed.
The court properly denied defendant's suppression motion. There is no basis for disturbing the court's credibility determinations, which are supported by the record (see People v Prochilo , 41 NY2d 759, 761 [1977]). A police officer's testimony that he saw defendant attempt to "double up" with another person, get stuck, and then step over a subway turnstile was not inherently unbelievable. Furthermore, this testimony was corroborated by a surveillance videotape, although the video was taken from a different angle from that of the officer's observations. Accordingly, the police had probable cause to make a lawful arrest for theft of services, which led to the recovery of a firearm.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 23, 2021








